
5 N.Y.2d 894 (1959)
Paul Ginsburg, Appellant,
v.
Hearst Publishing Company, Inc., et al., Respondents.
Court of Appeals of the State of New York.
Argued November 6, 1958.
Decided January 8, 1959.
Leonard Feldman for appellant.
Lawrence V. Brock, Charles Henry and Joseph C. Hagan for respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Judgment affirmed, with costs, on the condition provided for in the Appellate Division order, that is, that respondents within ten days accept service of process or appear in a Pennsylvania action and waive the Statute of Limitations, etc. No opinion.
